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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION
 THE STATE OF TEXAS; TEXAS HEALTH                §
 AND HUMAN SERVICES COMMISSION,                  §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              §
                                                 §     Case No. 6:21-cv-00191-JCB
 CHIQUITA BROOKS-LASURE, in her                  §
 official capacity as Administrator of the       §
 Centers for Medicare & Medicaid                 §
 Services, et al.,                               §
                                                 §
        Defendants.

                               STIPULATION OF DISMISSAL


       Through the signatures of their counsel below, the parties stipulate to the dismissal of this

case with each party to bear its own costs. See Fed. R. Civ. P. 41(a)(1)(A)(ii).

       To obtain this dismissal, the Defendants have withdrawn their April 16, 2021 letter.

Defendants have further represented to Texas and the Texas Health and Human Services

Commission that “CMS will hereafter consider Texas’s THTQIP demonstration to be approved as

extended and governed by the Special Terms and Conditions (STCs) that CMS approved on

January 15, 2021,” and “CMS will not re-issue a substantially similar letter [to the April 16, 2021,

letter] or take any future action to rescind CMS’s January 15, 2021 approval of the THTQIP

demonstration project based on failure to comply with public notice and comment requirements,”

as reflected in the April 22, 2022, letter from Chiquita Brooks-LaSure to Stephanie Stephens, ECF

No. 106-1. CMS also previously argued that the January 15, 2021 approval of the THTQIP

demonstration project was void without any additional action to rescind or invalidate it by CMS
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or any other entity. CMS no longer maintains that position. As represented in the April 22nd letter,

CMS will not take any future action to rescind the January 2021 approval based on failure to

comply with public notice and comment requirements. The Defendants acknowledge that Texas

and the Texas Health and Human Services Commission have relied on these representations in

agreeing to this Stipulation of Dismissal, which they would not have agreed to but for that

representation.


Dated May 10, 2022                                Respectfully submitted.

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                                   CERTIFICATE OF SERVICE

       I certify that on May 10, 2022, this document was filed with the Court’s CM/ECF system,

which serves it upon all counsel of record.

                                                  /s/ Keri L. Berman
